 Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                   Page 1 of 16 PageID
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                                                                                                     Barbara Sucsy
                                                                                Lubbock County - 237th District Court
                                                                                            Lubbock County, Texas

                                                      DC-2021-CV-0370                                      ag
                                              NO. - - - - -

SHANNON CORBETT,                                  §      INTBE 237th
          Plaintiff,                              §
                                                                  ------
                                                  §
vs.                                               §     - - - - -DISTRICT COURT
                                                  §
TEXAS TECH UNIVERSITY HEALTH                      §
SCIENCES CENTER,                                  §
           Defendant.                             §      LUBBOCK COUNTY, TEXAS

                             PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Shannon Corbett (hereinafter "Plaintiff') by and through her respective

counsel of record, and files this Original Complaint as against Texas Tech University Health

Sciences Center (hereinafter "Defendant"). In support of this Complaint, Plaintiff would proffer

and show this Honorable Court as follows:

                                   I.   PARTIES AND SERVICE

      1. Plaintiff is a citizen of the United States and the State of Texas and resides in Lubbock

County, Texas.

      2. Defendant Texas Tech University Health Sciences Center is an institution of higher

education within the State of Texas and maintains a principal place of business in Lubbock, Texas

at the address of 1508 Knoxville Ave., Ste. 301, Lubbock, Texas 79409. Defendant may be served

with citation by serving Eric Bentley at 1508 Knoxville Ave., Ste. 301, Lubbock, Texas 79409 or

wherever he may be found.

                                II.     CONDITIONS PRECEDENT

      3. On or about March 31, 2020, Plaintiff filed charges of discrimination with the Equal

Employment Opportunity Commission (hereinafter "EEOC") against Defendant alleging

violations of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq. (hereinafter
  Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                   Page 2 of 16 PageID 13



"Title VIr').

    4. The EEOC charges were dual-filed with the Texas Workforce Commission, Civil Rights

Division (hereinafter "TWCCRD") alleging violations of the Chapter 21 of the Texas Labor Code,

the Texas Commission on Human Rights Act (hereinafter "TCHRA") against Defendant.

    5. Plaintift1s Complaint is filed within ninety days of Plaintiff's receipt of the Equal

Employment Opportunity Commission's issuance of a right to sue letter. 1

    6. A notice of the right to file a civil action has been requested from the TWCCRD. 2

    7. Any and all other prerequisites to the filing of this suit have been met.

                         III.     STATEMENT ON JURISDICTION AND VENUE

    8. This court has personal jurisdiction over Defendant because the Defendant is located in

this state.

    9. Venue is proper in this County because a substantial part of the events giving rise to the

allegations in this Complaint occurred within this County.

                                IV.   STATEMENTOFPERTINENTFACTS

    10. Defendant operates an anesthesiology residency program (hereinafter "ARP"), the mission

and purpose of which is educational. Residents of the ARP are employed by Defendant.

    11. Plaintiff was a resident of the ARP. At all relevant times, Defendant employed Plaintiff,

controlled the terms and conditions of Plaintifrs employment, and qualifies as an employer under

all relevant statutes.

    12. Dr. Alan Santos became the Director of the ARP in 2017. Dr. Santos was responsible for

developing and implementing the academic and clinical program for anesthesiology residents. Dr.

Santos was a supervisor with immediate or higher authority over Plaintiff.



I Exhibit A
2 Exhibit B


                                             Page 2 of 15
 Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                      Page 3 of 16 PageID 14



   13. When Dr. Santos became the Director of the ARP, Plaintiff was one of two female residents

in the ARP. In the 2018-2019 academic year, Plaintiff became the only female resident in the ARP.

The other female resident informed Plaintiff that she was leaving the ARP because she had been

subjected to similar treatment as detailed below.

   14. In Plaintiffs initial interaction with Dr. Santos, Dr. Santos informed Plaintiff in front of

other ARP residents, "Women don't belong in medicine. I will see to it that you do not finish here

and won't have a career in medicine. Women should be nurses because they can't handle the

demanding schedule of medicine."

   15. In front of other ARP residents, Dr. Santos persistently addressed Plaintiff as "Missy" or

snapped his fingers at her as if beckoning a dog. Dr. Santos addressed male ARP residents as

"Doctor [Last Name]."

   16. During clinical training, Dr. Santos offered guidance to male ARP residents; Dr. Santos

would not provide female ARP residents opportunities to ask questions or offer guidance.

   17. During clinical training, Dr. Santos allowed male ARP residents to begin treating patients

without his supervision; Plaintiff was required to wait for Dr. Santos to enter a patient's room

before she was allowed to begin a patient's treatment.

    18. On one such occasion, Plaintiff expressed concern about placing an arterial line on a patient

since it was her first attempt. Plaintiff was unable to place the line. Rather than offering guidance

and train Plaintiff as he did with male ARP residents, Dr. Santos yelled at Plaintiff about her

inability to place the line, pushed Plaintiff away from the patient, placed the line, and told Plaintiff

"I am going to have to kill you!"

    19. Plaintiff sought guidance from Dr. Santos when Plaintiff's subordinate verbally accosted

her during clinical training. Dr. Santos informed Plaintiff, "You are a female, so you are going to



                                             Page 3 of 15
 Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                     Page 4 of 16 PageID 15



take more crap from everyone who is jealous. And it is not right. But it is the way it is and you just

have to deal with it until you move on."

   20. Dr. Santos accused Plaintiff of drug and alcohol abuse on numerous occasions, including

nine times prior to her June 2018 American Board of Anesthesiology (hereinafter "ABA") Basic

Exam. After these nine allegations, Plaintiff took drug tests. Plaintiff presented the results of the

negative drug tests to Dr. Santos and requested an apology. Dr. Santos informed Plaintiff that he

did not apologize to women.

   21. The Defendant's Office of Graduate Medical Examination (hereinafter "GME") and Dr.

Santos requested that Dr. Corbett undergo an Employee Assistance Program (hereinafter "EAP")

assessment prior to resuming clinical training due to purported despondent Facebook posts. Dr.

Santos personally escorted Plaintiff to the EAP and alleged Plaintiff was abusing alcohol.

    22. During ARP resident lectures, Dr. Santos would respond to incorrect answers from Plaintiff

with a retort of"You're disappointing daddy."

    23. The ABA in-training examination (hereinafter "ABA ITE") is a computer-based

examination of 200 multiple choice questions used to prepare residents for the ABA Basic and

Advanced examinations.

    24. Prior to the ABA ITE, Dr. Santos permitted male ARP residents to copy questions from

the ABA ITE to make an answer sheet that they could utilize as a "cheat sheet" during the exam.

Plaintiff received a copy of the "cheat sheet" after the ABA ITE.

    25. The ABA Basic Exam consists of200 questions that require the application of knowledge

rather than a simple recall of factual information. The questions often include a brief clinical

vignette followed by a lead-in question and four response options. Accordingly, providing

guidance and permitting residents to ask questions during clinical training is critical to passing the



                                            Page 4 of 15
 Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                     Page 5 of 16 PageID 16



ABA Basic Exam.

   26. Plaintiff asked Dr. Santos questions about the ABA Basic Exam. Dr. Santos stated ''It's all

in the book. Just read the book."

   27. Plaintiff scheduled time to discuss "the book" with Dr. Santos and receive assistance on

passing the ABA Basic Exam, but Dr. Santos repeatedly told her to reschedule the session. Plaintiff

never received further instruction from Dr. Santos than "Just read the book."

   28. During her preparation for the ABA Basic Exam, Dr. Santos would repeatedly interrupt

her attempts to study. The day prior to the June 2019 ABA Basic Exam, Dr. Santos unexpectedly

required Plaintiff to attend a mandatory meeting and sign her Year-End Resident Milestone

Summary and the Clinical Competence Committee Survey, then he ended the meeting by further

berating her and telling her that she would never pass. While Plaintiff studied in an office next to

Dr. Santos' office prior to the November 2019 ABA Basic Exam, Dr. Santos would pass by

Plaintiffs office and inform her that she was going to fail and access the software Plaintiff was

utilizing to study to ridicule Plaintiff for answering questions incorrectly.

   29. Dr. Santos' conduct resulted in Plaintiff experiencing consistent hypervigilance,

hyperarousal, emotional distress, excessive worry, anxiety, feelings of helplessness, and difficulty

concentrating in her work environment. This ultimately led Plaintiff to score poorly on the ABA

Basic Exam. Despite receiving satisfactory grades that qualified her for the ARP, Defendant took

the disciplinary action of recommending Plaintiff for dismissal from the ARP on December 11,

2019. Male ARP residents who did not pass the ABA Basic Exam but received satisfactory grades

were not recommended for dismissal from the ARP.

   30. Following the recommendation for dismissal, four of Defendant's employees offered to

write letters of recommendation or serve as references.



                                            Page 5 of 15
 Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                  Page 6 of 16 PageID 17



   31. Plaintiff had previously reported Dr. Santos' conduct to the GME on multiple occasions

prior to December 11, 2019. However, the GME did not take undertake a formal investigation of

Plaintifrs complaints. On or about January 27, 2020, the Office of Equal Opportunity at Texas

Tech University (hereinafter "OEO"), a purportedly neutral party, began a perfunctory

investigation of gender discrimination by Dr. Santos after Plaintiff filed a complaint. Plaintiff

participated in the OEO investigation. The OEO contacted one person from a list of fourteen (14)

corroborating witnesses that Plaintiff provided to the OEO.

   32. On or about March 31, 2020, Plaintiff filed charges of discrimination with the EEOC and

TWCCRD.

   33. After the Plaintiff filed her charges of discrimination with the EEOC and TWCCRD and

the OEO closed its investigation, the four employees that offered to write letters of

recommendation or serve as references declined to speak to Plaintiff.

   34. Plaintiff described Dr. Santos' conduct during her appeal of her dismissal from the

residency program. The Associate Director of the ARP made detailed assertions to the ad hoc

appeal subcommittee regarding the substantive investigation by the OEO, including that Plaintiffs

complaints were fully investigated and the purported number of people interviewed, as well as

their employment status and gender. Plaintiff was and has not been provided with any materials to

substantiate the Associate Director's bald assertions.

   35. Despite the disclosure of information in the OEO investigation by the Associate Director

of the ARP, the Texas Tech University System ("TTUS" herein) prevented Plaintiff from

providing materials from the OEO investigation to the EEOC and TWCCRD. TTUS successfully

requested the Honorable Ken Paxton to withhold the OEO investigation materials from public

disclosure because TTUS "reasonably anticipated litigation" on March 31, 2020.



                                           Page 6 of15
    Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                         Page 7 of 16 PageID 18



     36. The ad hoc appeal subcommittee upheld the recommendation of Plaintiff's dismissal from

the ARP and considered the OEO investigation in its deliberations. Plaintiff was dismissed from

the residency program on May 11, 2020.

     37. Plaintiff attempted to apply to other residency programs. The application process requires

Plaintiff to verify that she was a resident of Defendant and the dates of her residency. Residency

programs require Defendant to verify this information. A reference checking company employed

by Plaintiff determined that Defendant has been refusing to verify to prospective employers that

Plaintiff was a resident of Defendant as well as the dates of her residency.

                                      V.      CLAIMS FOR RELIEF

     38. Plaintiff incorporates by reference all of the allegations, statements, and references alleged

as set forth above.

Claim 1: Hostile Work Environment Pursuant to Title VII

     39. For a hostile work environment claim under Title VII, the plaintiff must show: (1) she

belongs to a protected group; (2) she was subjected to unwelcome sexual harassment; (3) the

harassment was based on sex; (4) the harassment was sufficiently severe or pervasive so as to alter

the conditions of employment and create an abusive working environment; and (5) the employer

knew or should have known and failed to take prompt remedial action. 3 When the alleged harasser

is a supervisor with immediate or higher authority over the plaintiff, the plaintiff need only meet

the first four elements of the test. 4

     40. Plaintiff belongs to a protected group as a female.

     41. Plaintiff was subjected to unwelcome sexual harassment by Dr. Santos, including but not



3 Garvin v. Sw. Corr., L.L.C., 391 F. Supp. 3d 640, 650-51 (N.D. Tex. 2019) citing Watts v. Kroger Co., 170 F.3d
505, 509 (5th Cir. 1999).
4 Garvin v. Sw. Corr., L.L.C., 391 F. Supp. 3d 640,651 (N.D. Tex. 2019) citing Watts v. Kroger Co., 170 F.3d 505,

509 (5th Cir. 1999).

                                                 Page 7 of 15
    Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                           Page 8 of 16 PageID 19



limited to the conduct listed in paragraphs 16-24, 26, and 28-30.

     42. The harassment was based on sex.

     43. The harassment was sufficiently severe or pervasive so as to alter the conditions of

Plaintiff's employment. A reasonable person would find the work environment hostile or abusive.

Plaintiff perceived the environment as abusive. Due to Dr. Santos' conduct, Plaintiff's work

environment consisted of Plaintiff experiencing hypervigilance, hyperarousal, emotional distress,

excessive worry, anxiety, feelings of helplessness, and difficulty concentrating.

Claim 2: Hostile Environment Sexual Harassment Pursuant to TCHRA

     44. For a hostile work environment claim under the TCHRA, the plaintiff must show: (1) the

employee belongs to a protected class; (2) the employee was subject to unwelcome sexual

harassment; (3) the harassment was based on sex; (4) the harassment affected a term, condition, or

privilege of employment; and (5) the employer knew or should have known of the harassment and

failed to take adequate remedial action. 5 When the alleged harassment is committed by the

plaintiffs supervisor, the plaintiff need only satisfy the first four elements. 6

     45. Plaintiff belongs to a protected group as a female.

     46. Plaintiff was subject to unwelcome sexual harassment by Dr. Santos, including but not

limited to the conduct listed in paragraphs 16-24, 26, and 28-30.

     47. The harassment was based on sex.

     48. The harassment affected a term, condition, or privilege of Plaintiff's employment in that it

created an abusive working environment. 7 Dr. Santos' conduct created an environment that a

reasonable person would find hostile or abusive and that Plaintiff perceived as hostile or abusive.



5 County ofEl Paso v. Aguilar, 600 S.W.3d 62, 86-87 (Tex. App.-El Paso 2020, no pet.).
6
  Alie/lndep. Sch. Dist. v. Brantley, 558 S.W.3d 747, 757 (Tex. App.-Houston [14th Dist.] 2018, pet. denied).
1 Mayfield v. Ta"ant Reg'l Water Dist., 461 S.W.3d 706, 713 (Tex. App.-El Paso 2015, no pet.).



                                                 Page 8 of 15
    Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                         Page 9 of 16 PageID 20



Due to Dr. Santos' conduct, Plaintiff's work environment consisted of Plaintiff experiencing

hypervigilance, hyperarousal, emotional distress, excessive worry, anxiety, feelings of

helplessness, and difficulty concentrating.

Claim 3: Gender Discrimination Pursuant to Title VII

      49. For a gender discrimination claim under Title VII, the plaintiff must show that: (1) she was

a member of a protected class; (2) she was qualified for the position; (3) she suffered an adverse

employment action; and (4) after his adverse employment action, he was replaced by someone not

a member of the protected class or that others similarly situated and outside of the protected class

were more favorably treated. 8

      50. Plaintiff was a member of a protected class as a female.

      51. Although Plaintiff did not pass the ABA Basic Exam, she was qualified for the position

because she received satisfactory grades that qualified her for the ARP.

      52. Plaintiff suffered an adverse employment action when she was recommended for dismissal

from the ARP.

      53. Male ARP residents who did not pass the ABA Basic Exam but received satisfactory grades

were not recommended for dismissal from the ARP.

Claim 4: Gender Discrimination Pursuant to TCHRA

      54. For a gender claim under the TCHRA, a plaintiff must show that she: (1) is a member of a

protected class, (2) was qualified for her position, (3) was subject to an adverse employment action,

and (4) was treated less favorably than similarly situated persons outside of the protected class. 9

      55. Plaintiff was a member of a protected class as a female.



8
    Garvin v. Sw. Corr., L.L.C., 391 F. Supp. 3d 640,654 (N.D. Tex. 2019).
9
    Univ. of Tex. MD. Anderson Cancer Ctr. v. Eltonsy, 451 S.W.3d 478,483 (Tex. App.-Houston [14th Dist.] 2014,
no pet.).

                                                 Page 9 of15
 Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                                 Page 10 of 16 PageID 21



      56. Although Plaintiff did not pass the ABA Basic Exam, she was qualified for the position

because she received satisfactory grades that qualified her for the ARP.

      57. Plaintiff suffered an adverse employment action when she was recommended for dismissal

from the ARP.

      58. Male ARP residents who did not pass the ABA Basic Exam but received satisfactory grades

were not recommended for dismissal from the ARP.

Claim 5: Retaliation Pursuant to Title VII

      59. For a retaliation claim under Title VII, the plaintiff must show: (1) that she engaged in

activity protected by Title VII; (2) that she suffered an adverse employment action; and (3) that a

causal connection exists between the protected activity and the adverse employment action. 10

         A.

      60. Plaintiff engaged in activity protected by Title VII when she participated in the OEO

investigation and filed charges of discrimination with the EEOC and TWCCRD.

       61. Plaintiff suffered an adverse employment action when four of Defendant's employees

withdrew their offers to write letters of recommendation.

       62. A causal connection exists between the protected activity and the adverse employment

action because Defendant's employees withdrew their offers to write letters of recommendation

after Plaintiff participated in the OEO investigation and filed charges of discrimination with the

EEOC and TWCCRD.

         B.

       63. Plaintiff engaged in activity protected by Title VII when she filed a charge with the OEO

and participated in the OEO investigation.



10   Garvin v. Sw. Corr., L.L.C., 391 F. Supp. 3d 640, 650-51 (N.D. Tex. 2019).

                                                   Page 10 of 15
 Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                            Page 11 of 16 PageID 22



      64. Plaintiff suffered an adverse employment action when the ad hoc appeal subcommittee

upheld the recommendation of Plaintiff's dismissal from the ARP.

      65. A causal connection exists between the protected activity and the adverse employment

action because the committee considered the OEO investigation in its deliberations and the

Associate Director of the ARP made representations to the committee that gave disproportionate

veracity to the opaque O EO investigation.

         C.

      66. Plaintiff engaged in activity protected by Title VII when she filed charges of discrimination

with the EEOC and TWCCRD.

      67. Plaintiff suffered an adverse employment action when Defendant refused to verify to

prospective employers that Plaintiff was a resident of Defendant and as well as the dates of her

residency.

      68. A causal connection exists between the protected activity and the adverse employment

action because Defendant refused to verify to prospective employers that Plaintiff was a resident

of Defendant and as well as the dates of her residency after Plaintiff filed charges of discrimination

with the EEOC and TWCCRD.

Claim 6: Retaliation Pursuant to TCHRA.

      69. For a retaliation claim under the TCHRA, the plaintiff must show that: (1) she engaged in

an activity protected by the TCHRA, (2) an adverse employment action occurred, and (3) there

exists a causal link between the protected activity and the adverse action. 11

         A.
      70. Plaintiff engaged in activity protected by the TCHRA when she participated in the OEO


11
     Univ. ofTex. M.D. Anderson Cancer Ctr. v. Eltonsy, 451 S.W.3d 478,484 (Tex. App.-Houston [14th Dist.] 2014,
no pet.).

                                                 Page 11 of 15
 Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                  Page 12 of 16 PageID 23



investigation and filed charges of discrimination with the EEOC and TWCCRD.

   71. Plaintiff suffered an adverse employment action when four of Defendant's employees

withdrew their offers to write letters of recommendation.

   72. A causal connection exists between the protected activity and the adverse employment

action because Defendant's employees withdrew their offers to write letters of recommendation

after Plaintiff participated in the OEO investigation and filed charges of discrimination with the

EEOC and TWCCRD.

     B.

   73. Plaintiff engaged in activity protected by the TCHRA when she filed a charge with the

OEO and participated in the OEO investigation.

   74. Plaintiff suffered an adverse employment action when the ad hoc appeal subcommittee

upheld the recommendation of Plaintiffs dismissal from the ARP.

   75. A causal connection exists between the protected activity and the adverse employment

action because the committee considered the OEO investigation in its deliberations and the

Associate Director of the ARP made representations to the committee that gave disproportionate

veracity to the opaque OEO investigation.

     C.

   76. Plaintiff engaged in activity protected by the TCHRA when she filed charges of

discrimination with the EEOC and TWCCRD.

   77. Plaintiff suffered an adverse employment action when Defendant refused to verify to

prospective employers that Plaintiff was a resident of Defendant and as well as the dates of her

residency.

    78. A causal connection exists between the protected activity and the adverse employment

action because Defendant refused to verify to prospective employers that Plaintiff was a resident

                                          Page 12 of 15
 Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                     Page 13 of 16 PageID 24



of Defendant and as well as the dates of her residency after Plaintiff filed charges of discrimination

with the EEOC and TWCCRD.

                          VI.    PRAYER AND REQUEST FOR RELIEF

   79. Plaintiff incorporates by reference all of the foregoing.

   80. Plaintiff, in accordance with the foregoing, prays to this Honorable Court to grant Plaintiff

the following remedies for damages incurred by Defendant's tortious actions as herein described:

Request for Relief Pursuant to Title VII

   81. Plaintiff sustained the following damages as a result of the actions and/or omissions of

Defendant described hereinabove:

    a. All reasonable and necessary Attorney's fees incurred by or on behalf of Plaintiff;

    b. Back pay from the date that Plaintiff was denied equal pay for equal work and interest on

         the back pay in an amount to compensate Plaintiff as the Court deems equitable and just;

    c. All reasonable and necessary costs incurred in pursuit of this suit;

    d. Emotional pain;

    e. Expert fees as the Court deems appropriate;

    f.   Front pay in an amount the Court deems equitable and just to make Plaintiff whole;

    g. Inconvenience;

    h. Pre and Post judgment interest;

    1.   Loss of enjoyment of life;

   j.    Mental anguish in the past;

    k. Mental anguish in the future;

    I.   Reasonable medical care and expenses in the past. These expenses were incurred by

         Plaintiff and such charges are reasonable and were usual and customary charges for such

         services in Lubbock County, Texas and Lubbock County, Texas;

                                            Page 13 of 15
Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                    Page 14 of 16 PageID 25



   m. Reasonable and necessary medical care and expenses which will in all reasonable

        probability be incurred in the future;

   n. Loss of earnings in the past;

   o. Loss of earning capacity which will, in all probability, be incurred in the future;

   p. Loss of benefits;

   q. Humiliation;

   r.   Injury to reputation; and

   s. Such other and relief and remedy as this Honorable Court shall adjudge as proper.

Request for Relief Pursuant to TCHRA

   82. Plaintiff sustained the following damages as a result of the actions and/or omissions of

Defendant described hereinabove:

   a. All reasonable and necessary Attorney's fees incurred by or on behalf of Plaintiff;

   b. Back pay from the date that Plaintiff was denied equal pay for equal work and interest on

        the back pay in an amount to compensate Plaintiff as the Court deems equitable and just;

   c. All reasonable and necessary costs incurred in pursuit of this suit;

   d. Emotional pain;

   e. Expert fees as the Court deems appropriate;

   f.   Front pay in an amount the Court deems equitable and just to make Plaintiff whole;

   g. Inconvenience;

   h. Pre and Post judgment interest;

   1.   Loss of enjoyment of life;

   j.   Mental anguish in the past;

   k. Mental anguish in the future;

   1. Reasonable medical care and expenses in the past. These expenses were incurred by

                                            Page 14 oflS
Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21                         Page 15 of 16 PageID 26



        Plaintiff and such charges are reasonable and were usual and customary charges for such

        services in Lubbock County, Texas and Lubbock County, Texas;

   m. Reasonable and necessary medical care and expenses which will m all reasonable

        probability be incurred in the future;

   n. Loss of earnings in the past;

   o. Loss of earning capacity which w ill, in all probability, be incurred in the future;

   p. Loss of benefits;

   q. Humiliation;

   r.   Injury to reputation ; and

   s. Such other and relief and remedy as this Honorable Court shall adjudge as proper.

Request for Exemplary Damages Pursuant to Title VII and TCHRA

   83. Plaintiff would further show that the acts and omi ssions of Defendant complained of herein

were committed with malice or reckless indifference to the protected rights of the Plaintiff. In

order to punish said Defendant for engaging in unlawful business practices and to deter such

actions and/or omissions in the futw·e, Plaintiff also seeks recovery from Defendant for exemplary

damages.

                                                 Respectfully submitted,

                                                 MATTHEW HARRIS LAW, PLLC
                                                 100 I Main Street, Suite 200
                                                 Lubbock, Texas 79401 -3309
                                                 FrontDesk@MatthewHarrisLaw.com
                                                 Tel: (806) 702-4852 I Fax: (800) 985-9479

                                                 By:    C()J.Mg &W>O
                                                       Carrie A. Harris, Esq.
                                                       State Bar No. 24094705
                                                       Attorneys for Plaintiffs

                     PLAINTIFF HEREBY DEMANDS TRIAL BY JURY


                                            Page 15 of 15
     Case 5:21-cv-00281-H Document 1-6 Filed 11/16/21             Page 16 of 16 PageID 27

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Associated Case Party: Shannon Corbett

Name            BarNumber Email                            TimestampSubmitted   Status

Carrie Harris             FrontDesk@matthewharrislaw.com   10/12/2021 5:29:33 PM SENT
